43 F.3d 1433
    Prod.Liab.Rep. (CCH) P 14,414Fernando BENITEZ and Alina Benitez, his wife, Plaintiffs-Appellees,v.STANDARD HAVENS PRODUCTS, INC., a foreign corporation,Defendant/Third Party Plaintiff-Appellant.
    No. 92-4470.
    United States Court of Appeals,Eleventh Circuit.
    Feb. 6, 1995.
    
      Kathleen M. O'Connor, Thornton, David, Murray, Richard &amp; Davis, P.A., Miami, FL, for appellant.
      G. William Bissett, Hardy, Bissett &amp; Lipton, P.A., Miami, FL, for appellees.
      Appeal from the United States District Court for the Southern District of Florida (No. 88-6255-Civ-JCP), James C. Paine, Judge.
      Before EDMONDSON and CARNES, Circuit Judges, and HILL, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Following oral argument, we certified the following question to the Supreme Court of Florida:
    
    
      2
      DOES A PLAINTIFF'S KNOWING MISUSE OF A PRODUCT IN A MANNER NEITHER INTENDED NOR FORESEEABLE BY THE DEFENDANT MANUFACTURER BAR RECOVERY, AS A MATTER OF LAW, ON A PRODUCTS LIABILITY CLAIM SOUNDING IN NEGLIGENCE?
    
    
      3
      Benitez v. Standard Havens Products, Inc., 7 F.3d 1561, 1565 (11th Cir.1993).  Our earlier opinion contains a statement of the relevant facts and proceedings, which need not be repeated here.
    
    
      4
      The Florida Supreme Court has now answered the question in the negative.  Standard Havens Products, Inc. v. Benitez, 648 So.2d 1192 (Fla.1994).  In light of the Florida Supreme Court's opinion, we AFFIRM the jury's verdict in favor of Fernando Benitez in the amount of $1,050,000, and in favor of Alina Benitez in the amount of $175,000.
    
    